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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

   KEMARI AVERETT,                                     )
                                                       )
              Plaintiff,                               )         Civil Action No. 3:19-CV-116-CHB
                                                       )
   v.                                                  )
                                                       )     ORDER PERMITTING FILING OF
   UNIVERSITY OF LOUISVILLE, et al.,                   )     SECOND AMENDED COMPLAINT
                                                       )
              Defendants.                              )

                                           ***   ***       ***    ***
         This matter is before the Court on the parties’ Agreed Order [R. 15]. Having reviewed

the Agreed Order and the Court being otherwise sufficiently advised,

         IT IS HEREBY ORDERED as follows:

         1.        The Plaintiff shall be permitted to file the Second Amended Complaint [R. 5], and

that his Second Amended Complaint shall be DEEMED filed as of the date of entry of this

Order.

         2.        The Defendants SHALL have fourteen (14) days from the date of entry of this

Order to respond to the Second Amended Complaint [R. 5]. No Defendant shall file a response

to the Complaint [R.1] or First Amended Complaint [R. 4].


March 22, 2019




cc: Counsel of Record




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